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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                          Case No. 11-24465-Civ-COOKE/TURNOFF

  JAN BENSON SEGAL,

         Plaintiff

  vs.

  BRE/LQ FL PROPERTIES, LLC and
  LQ MANAGEMENT, LLC d/b/a
  LA QUINTA 2627

        Defendant.
  _____________________________________/

                                    ORDER OF DISMISSAL

         THIS CASE has been DISMISSED with prejudice against being re-filed pursuant to

  Federal Rule of Civil Procedure 41(a)(1)(A)(ii). (Joint Stip. of Full and Final Dismissal with

  Prejudice, ECF No. 14). Each party shall bear its own fees, expenses and costs. The Clerk shall

  CLOSE this case. All pending motions, if any, are DENIED as moot.

         DONE and ORDERED in chambers at Miami, Florida, this 8th day of May 2012.




  Copies furnished to:
  William C. Turnoff, U.S. Magistrate Judge
  Counsel of record
